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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 IN RE PHILIPS RECALLED CPAP,                             Master Docket: 2:21-MC-1230
 BI-LEVEL PAP, AND MECHANICAL
 VENTILATOR PRODUCTS LITIGATION                           MDL No. 3014

 This document relates to: All Personal Injury            Judge Joy Flowers Conti
 Cases



                            [PROPOSED] PRETRIAL ORDER # [31]

       (Procedures for Filing of Master Third-Party Complaint and Related Proceedings)

  I.     PURPOSE OF ORDER

         This Order governs the procedures for the Philips Defendants’ filing of a Master Third -

Party Complaint against Third-Party Defendants SoClean, Inc. and DW Management Services,

LLC (“Third-Party Defendants”), as well as related proceedings thereafter.

         To avoid the inefficiencies of drafting individual personal injury complaints and individua l

answers to those individual complaints at this stage of the litigation, this Court, in ECF No. 2532,

Pretrial Order #28(b), set forth procedures regarding the filing of and responses to a Second

Amended Master Personal Injury Complaint and individual Short Form Complaints. To allow the

Philips Defendants and the Third-Party Defendants to benefit from the same efficiencies, this

Court will extend those procedures to cover the third-party claims the Philips Defendants seek to

assert against the Third-Party Defendants.

         This Order is binding on all parties and their counsel. Nothing in this Order is intended to

(or does) alter the applicable provisions of the Federal Rules of Civil Procedure or the Local Rules

of this Court, except as otherwise provided herein, in Pretrial Order #28(b), or in any subsequent

Order.
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 II.    PHILIPS DEFENDANTS’ THIRD-PARTY COMPLAINT AND THIRD-PARTY
        DEFENDANTS’ RESPONSES THERETO

        1.     The Philips Defendants shall file their Master Third-Party Complaint against the

Third-Party Defendants on the main docket of this MDL. The Master Third-Party Complaint shall

be deemed filed in each of the individual cases for which a Plaintiff (i) has filed a Short Form

Complaint against one or more of the Philips Defendants, and (ii) has identified in his or her

Plaintiff Fact Sheet the use of SoClean ozone-cleaning with his or her Philips Respironics device.

The Philips Defendants need not file a separate pleading in each of the individual cases at this

time.

        2.     The Third-Party Defendants’ motions to dismiss, answers or other responsive

pleadings to the Master Third-Party Complaint shall be stayed until further order of the Court

following the Court’s disposition of Philips RS North America, LLC’s motion to dismiss the

Second Amended Master Personal Injury Complaint (ECF No. 2573). At such time, the Court will

set a schedule for the Third-Party Defendants’ responsive pleading(s) to the Master Third-Party

Complaint.

III.    SUBSEQUENT PRACTICE WITH RESPECT TO INDIVIDUAL PERSONAL
        INJURY COMPLAINTS

        3.     As set forth in Pretrial Order #28(b), the Court will enter a subsequent order setting

forth the process for selecting Personal Injury Plaintiffs whose cases will be included in the pool

from which bellwether cases are to be selected. Upon determination of the bellwether Personal

Injury Plaintiff cases, the Parties will propose further procedures consistent with ECF No. 2532,

Pretrial Order #28(b), and this Pretrial Order, including a proposed procedure for the filing of

dispositive motions and/or specific answers to individual pleadings in those cases, and individua l

contribution claims in those cases.



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       4.      As set forth in Pretrial Order #28(b), notwithstanding the filing of the Amended

Master Personal Injury Complaint, “[a]ny choice of law principles will be determined based on

the choice-of-law rules that would have applied in the federal district court of the Personal Injury

Plaintiff’s designated venue.” (ECF No. 2532, at 11.) As a result, the specific choice of law

applicable to the claims of each Personal Injury Plaintiff—and, correspondingly, the choice of law

applicable to the contribution claims of the Philips Defendants against the Third-Party Defendants

with respect to each Personal Injury Plaintiff’s claims—will be determined at a later date, as part

of dispositive motions and/or specific answers to individual pleadings in those cases.

       5.      As set forth in Pretrial Order #28(b), any Personal Injury Plaintiff whose case is

subsequently chosen for inclusion in the pool from which bellwether cases are to be selected may

amend his or her Short Form Complaint within 21 days after the selection of his or her case for

that pool. Such amendment may include the addition of the Third-Party Defendants as named

defendants.

       6.      Personal Injury Plaintiffs not selected for the pool from which bellwether cases are

to be selected may amend their Short Form Complaint to add the Third-Party Defendants as named

defendants pursuant to timing and procedures that will be the subject of a subsequent order.

       7.      Prior to the entry of the orders contemplated in Paragraphs 5 and 6, all time

limitations with respect to any claims held by any Personal Injury Plaintiff against the Third-Party

Defendants shall be suspended and tolled.

       8.      No Third-Party Defendant has agreed to or admitted any allegations, nor has any

Third-Party Defendant conceded or waived its rights to dispute the legal validity of the claims

alleged therein, nor has any Third-Party Defendant conceded the question of personal jurisdiction




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in any court. Nothing in this Order shall be construed as a waiver of personal jurisdiction by any

Third-Party Defendant or any Third-Party Defendant’s jurisdictional and/or venue arguments.




Dated: [   ], 2024                            ___________________________
                                              JOY FLOWERS CONTI
                                              SENIOR UNITED STATES DISTRICT JUDGE




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